Case 2:23-md-03080-BRM-RLS Document 23 Filed 11/13/23 Page 1 of 4 PageID: 302




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 [Additional Counsel on Signature Page]


                           UNITED STATES DISTRICT COURT
                              DIS'I'IUCT OF NE\v' JERSEY

                                        )
  IN RE: INSULIN PRICING                )           Case No. 2:23-md-3080
  LITIGATION                            )           (BRM)(RLS)
_____________ )                                     l'vIDL No. 3080
                                        )
This Document Relates to:               )           JUDGE BRIAN R.
                                        )           l'vIARTINOTI'I
In re: Direct Purchaser Insulin Pricing )
Litig., Case No. 20-03426 (D.NJ.)       )           JUDGE RUKHSANAH L.
                                        )           SINGH
                                        )
_____________ )

      NOTICE OF WITHDRAWAWL OF MOTION TO CONSOLIDATE




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Case 2:23-md-03080-BRM-RLS Document 23 Filed 11/13/23 Page 2 of 4 PageID: 303




       PLEASE TAKE NOTICE that Direct Purchaser Class Plaintiffs hereby

 withdraw their motion for the Court to formally order consolidation of 11l re Di1vct

 P11rchaser Imtt!in Plidng Litig., Case No. 20-cv-3426 (D.N.J.) into lvIDL No. 3080 (ECF

 No. 21 in Case No. 2:23-md-3080; ECF No. 313 in Case No. 2:20-cv-3426).


 Dated: November 4, 2023                 Respectfully submitted,

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